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                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

TEXIENNE ONCOLOGY CENTERS,    §
P.L.L.C. and TEXIENNE HOSPITAL§
SYSTEMS, L.P.,                §
                              §
           Plaintiffs,        §
v.                            §
                              §                 C.A. NO. ____________
UNITEDHEALTHCARE INSURANCE §
COMPANY; UNITEDHEALTHCARE     §
OF TEXAS, INC.;               §
UNITEDHEALTHCARE BENEFITS     §
OF TEXAS, INC.; and           §
UNITEDHEALTHCARE              §
COMMUNITY PLAN OF TEXAS, LLC, §
                              §
           Defendants.        §

                    INDEX OF STATE COURT DOCUMENTS

A.                   State Court Docket Sheet

B.       02/20/20    Original Petition

C.       02/20/20    Request for Service of Citation of UnitedHealthcare Insurance
                     Company

D.       02/20/20    Request for Service of Citation on UnitedHealthcare Community
                     Plan of Texas, LLC

E.       02/20/20    Request for Service of Citation on UnitedHealthcare Benefits of
                     Texas, Inc.

F.       02/20/20    Request for Service of Citation of UnitedHealthcare of Texas, Inc.

G.       02/26/20    Service of Citation on UnitedHealthcare Community Plan of Texas,
                     LLC

H.       02/26/20    Service of Citation on UnitedHealthcare Benefits of Texas, Inc.


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I.       02/26/20      Service of Citation of UnitedHealthcare of Texas, Inc.

J.       03/18/20      Defendants’ Original Answer


                                             Respectfully Submitted,

                                             By: /s/ Lance V. Clack
                                                     Andrew G. Jubinsky
                                                     State Bar No. 11043000
                                                     Fed. I.D. No. 8603
                                                     andy.jubinsky@figdav.com
                                                     Lance V. Clack
                                                     Texas Bar No. 24040694
                                                     lance.clack@figdav.com
                                                     Fed. I.D. No. 37085

                                             FIGARI + DAVENPORT, LLP
                                             901 Main Street, Suite 3400
                                             Dallas, TX 75202
                                             (214) 939-2000
                                             (214) 939-2090 (Fax)
                                             ATTORNEYS FOR DEFENDANTS


                            CERTIFICATE OF SERVICE

   This is to certify that a true and correct copy of the foregoing document has been
served via E-mail on the parties listed below on the 27th day of March, 2020.

 Steven J. Mitby
 smitby@seilermitby.com
 Kenna M. Seiler
 kseiler@seilermitby.com
 SEILER MITBY, PLLC
 2700 Research Forest Dr., Ste. 100
 The Woodlands, TX 77381

                                              /s/ Lance V. Clack
                                              Lance V. Clack




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                                                                                          Melisa Miller. District Clerk
                                                                                         Montgomery County, Texas
                                                                                      Deputy Clerk, Sarah Introligator
                                                      20-02-02468
                                     CAUSE NO.

 TEXIENNE ONCOLOGY CENTERS,       § IN THE DISTRICT COURT OF
 P.L.L.C AND TEXIENNE HOSPITAL    §
 SYSTEMS, L.P.,                   §
                                  § Montgomery County - 284th Judicial District Court
    Plaintiffs                    §
                                  §
 V.                               § MONTGOMERY COUNTY, TEXAS
                                  §
 UNITEDHEALTHCARE INSURANCE §            JUDICIAL DISTRICT
 COMPANY; UNITEDHEALTHCARE        §
 OF TEXAS, INC.;                  §
 UNITEDHEALTHCARE BENEFITS        §
 OF TEXAS, INC.; AND              §
 UNITEDHEALTHCARE                 §
 COMMUNITY PLAN OF TEXAS,         §
 LLC.                             §
                                  §
                     PLAINTIFFS’ ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       COME NOW, Texienne Oncology Centers, P.L.L.C. f/k/a Greater Houston Physicians

Medical Association, P.L.L.C. (“GHPMA”) and Texienne Hospital Systems, L.P. f/k/a Apollo

Hospital Systems, L.P. (“Apollo Hospital”) (hereinafter referred to collectively as “Plaintiffs” or

“Texienne”) and file this Plaintiffs’ Original Petition against UnitedHealthcare Insurance

Company, UnitedHealthcare of Texas, Inc., UnitedHealthcare Benefits of Texas, Inc., and

UnitedHealthcare Community Plan of Texas, LLC (hereinafter referred to collectively as

“UnitedHealthcare” or “Defendants”) and in support thereof shows as follows:

                                          I. PARTIES

       I.      Plaintiff Texienne Oncology Centers, P.L.L.C. f/k/a Greater Houston Physicians

Medical Association, P.L.L.C. (“GHPMA”) is a Texas professional limited liability company.

       2.     Plaintiff Texienne Hospital Systems, L.P. f/k/a Apollo Hospital Systems, L.P.

(“Apollo Hospital”) is a Texas limited partnership.
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        3.      Defendant UnitedHealthcare Insurance Company is a Connecticut corporation with

 its principal place of business at 185 Asylum St., Hartford, Connecticut 06103. It does not maintain

 an agent in the State of Texas for the service of process and therefore may be served via the Texas

 Secretary of State, with service forwarded to 185 Asylum St., Hartford, Connecticut 06103.

        4.      Defendant UnitedHealthcare of Texas, Inc. is a Texas corporation with its principal

 place of business at 185 Asylum St., CT039-04B, Hartford, Connecticut 06103. It may be served

 through its Registered Agent for Service: CT Corporation System, 1999 Bryan St., Ste. 900,

 Dallas, Texas 75201.

        5.      Defendant UnitedHealthcare Benefits of Texas, Inc. (f/k/a PacifiCare of Texas,

 Inc.) is a Texas corporation with its principal place of business at 3100 AMS Blvd., Green Bay,

 Wisconsin 54313. It may be served through its Registered Agent for Service: CT Corporation

 System, 1999 Bryan St., Ste. 900, Dallas, Texas 75201.

        6.      Defendant UnitedHealthcare Community Plan of Texas, LLC (f/k/a Evercare of

 Texas, LLC) is a Texas limited liability company with its principal place of business at 185 Asylum

 St.,.Hartford, Connecticut 06103. It may be served through its Registered Agent for Service: CT

 Corporation System, 1999 Bryan St., Ste. 900, Dallas, Texas 75201.

                               II. JURISDICTION AND VENUE

        7.      This Court has jurisdiction over this matter because the amount in controversy

. exceeds its minimum jurisdictional requirements. Venue is proper under Section 15.002 of the

 Texas Civil Practice & Remedies Code because all or a substantial part of the events or omissions

 giving rise to the claims occurred in Montgomery County, Texas. This Court has general and

 specific personal jurisdiction over UnitedHealthcare of Texas, Inc., UnitedHealthcare Benefits of

 Texas, Inc., UnitedHealthcare Community Plan of Texas, LLC because they reside in Texas and



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 over UnitedHealthcare Insurance Company because it has sufficient minimum contacts with Texas

 and because the events and occurrences that are the subject of this lawsuit occurred in Texas.

        8.       Plaintiffs request that the Court order a Level 2 Discovery Control Plan.

        9.       Pursuant to Rule 47 of the Texas Rules of Civil Procedure, Plaintiffs seek damages

 within the jurisdictional limits of this Court, including monetary relief over $1,000,000.00.

                                        m. JURY DEMAND

        10.      Pursuant to Rule 216 of the Texas Rules of Civil Procedure, Plaintiffs request a trial

 by jury and pay the appropriate fee.

                                             IV. FACTS

        11.      Apollo Hospital was a small, full-service hospital located in The Woodlands,

. Texas. GHPMA was a large physician group practice with numerous offices across the north

 Houston area.

        12.      On or around March 2014, Apollo Hospital entered into a Facility Participation

 Agreement with UnitedHealthcare for the provision of hospital medical services to

 UnitedHealthcare’s insureds (“the Apollo Agreement”). In exchange for Apollo Hospital’s

 medical services, UnitedHealthcare agreed to compensate Apollo Hospital at specific rates set

 forth in the Apollo Agreement.

        13.      Similarly, on or around May of 2009, GHPMA entered into a Medical Group

 Participation Agreement with UnitedHealthcare for the provision of covered medical services to

 UnitedHealthcare insureds with the effective day of May 15, 2009 (“the GHPMA agreement”). In

 exchange for GHPMA’s provision of covered medical services, UnitedHealthcare agreed to

 compensate GHPMA at specific rates set forth in the GHPMA Agreement.

        14.      Both Apollo and GHPMA fully complied with their obligations under the

 Agreements and timely submitted clean claims for reimbursement to UnitedHealthcare. However,

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UnitedHealthcare has failed to pay Apollo Hospital and GHPMA for clean claims in excess of $4

million.

                             V. CLAIMS AGAINST DEFENDANTS

           15.   Plaintiffs incorporate the above facts by reference herein.

           16.   UnitedHealthcare was contractually obligated to pay Plaintiffs the rates set forth in

the contracts for the provision of covered healthcare services. UnitedHealthcare was also

statutorily obligated pursuant to § 843.342 of the Texas Insurance Code to pay those claims.

           17.   UnitedHealthcare breached its statutory and contractual obligations by improperly

denying Plaintiffs’ “clean claims” for covered medical services.

           18.   Because UnitedHealthcare failed to timely pay Plaintiffs’ claims, Plaintiffs are

entitled to statutory penalties and interest under Texas Insurance Code § 843.336, et* seq.

           19.   Pursuant to Tex. Civ. Prac. & Rem. Code § 38.001 and Tex. Ins. Code § 843.343,

Plaintiffs are entitled to their attorneys’ fees in the prosecution of this matter.

                                           VI. DAMAGES

       20.       Each of the unlawful acts alleged above has proximately caused damages to

Plaintiffs. They are suffered and will continue to suffer in the future, actual damages, direct and

consequential, including without limitation lost profits in the past and in the future, and damage to

goodwill.

                                VII. CONDITIONS PRECEDENT

       21.       All conditions precedent to Plaintiffs’ recovery have been performed or have

occurred.




                                                                                                    4
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       "•V                  VIIL REQUEST FOR DISCLOSURE

       22.     Under Texas Rule of Civil Procedure 194, Plaintiffs request that UnitedHealthcare

disclose, within 50 days of the service of this requires, the information or material described in

Rule 194.2 of the Texas Rules of Civil Procedure.

                                         IX. PRAYER

       23.    Plaintiffs pray that UnitedHealthcare be commanded to appear and answer, and that

Plaintiffs have and recover the following from the Defendants:

              All actual damages suffered by Plaintiffs, an amount which is excess of the
              minimum jurisdictional limit of the Court;

              Attorneys’ fees;

              Costs of suit, pre-judgment and post judgment interest in the maximum amount
              allowed by law;

              Statutory damage, interest, costs, and attorney’s fees; and

              Any and all other relief Plaintiffs may be entitled to at law or in equity.


                                             Respectfully submitted.

                                             SEILER MITBY, PLLC


                                             /s/ Steven J. Mitbv
                                             Steven J. Mitby
                                             State Bar No .'2403 7123
                                             smitbv@seilermitbv.com
                                             Kenna M. Seiler
                                             State Bar No. 13944250
                                             k:seiler@seilermitbv.com
                                             2700 Research Forest Drive, Suite 100
                                             The Woodlands, Texas 77381
                                             (281)419-7770
                                             (281)419-7791 - Telecopier

                                             ATTORNEYS FOR PLAINTIFFS



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                                                 Request for Service                                    Montgomery County, Texas
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                    20-02-02468                            Montgomery County - 284th Judicial District Court
      CASE NUMBER: _______________________ CURRENT COURT: ________________________________________

      Name(s) of Documents to be served: _____________________________________________________________
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      FILE DATE of document(s) to be served: ______________________ Month/Day/Year
      SERVICE TO BE ISSUED ON (Please List Exactly as The Name Appears in The Pleading to Be Served):
      Issue Service to: _______________________________________________________________________________
      Address of Service:_____________________________________________________________________________
      City, State & Zip: ______________________________________________________________________________
      Agent (if applicable): ___________________________________________________________________________
              Check here to have citation addressed to wherever the addressee may be found.
      TYPE OF SERVICE/PROCESS TO BE ISSUED: (Check the appropriate box)
          Citation for Personal Service            Secretary of State Citation ($12.00)           Civil Injunction/TRO
          Citation by Posting                      Highway Commission ($12.00)                    Precept
          Citation by Publication                  Commissioner of Insurance ($12.00)             Subpoena
          Citation Scire Facias                    Capias (not an E‐Issuance)                     Other (Please describe)
          Writ of Garnishment                      Temporary Restraining Order (Family)
          Writ of Sequestration                    Temporary Ex Parte Protective Order
          Writ of Attachment                       Notice of Appl. For Protective Order
          Writ of Habeas Corpus                    Notice of Hearing/Show Cause
                                                                                               (See additional forms for
          Notice of Foreign Judgment (UIFSA)                                                   Post Judgment Service)
          Notice of Foreign Judgment (UCCJEA)      (by certified mail service)
          Writ of Withholding ($15.00 ‐ certified mail by District Clerk only)
          Notice of Termination of Child Support ($15.00 ‐ certified mail by District Clerk only)
      SERVICE BY: (Check the appropriate box.)
          E‐Issuance by District Clerk (No Service Copy Fees Charged) (Note:) CAPIAS is not an E‐Issuance Option
      *Citations returned electronically will be e‐served through E‐file Texas to requesting attorney/pro se.
          ATTORNEY PICK‐UP (phone or email contact): ________________________________________________
          MAIL to attorney at Attorney of Record’s address on file in case record.
          CERTIFIED MAIL by District Clerk
          Regular Mail (only available for Expedited Foreclosures and UIFSA Foreign Judgments
          CIVIL PROCESS SERVER ‐ Authorized Person to Pick‐up: __________________Phone: _________________
          OTHER, explain: _________________________________________________________________________
      Issuance of Service requested by:
      Attorney/Party Name: _______________________________________Bar# or ID: ______________________
      Mailing Address: ___________________________________________________________________________
      Phone Number: ___________________________



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                    Montgomery County - 284th Judicial District Court
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      SERVICE TO BE ISSUED ON (Please List Exactly as The Name Appears in The Pleading to Be Served):
      Issue Service to: _______________________________________________________________________________
      Address of Service:_____________________________________________________________________________
      City, State & Zip: ______________________________________________________________________________
      Agent (if applicable): ___________________________________________________________________________
              Check here to have citation addressed to wherever the addressee may be found.
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          Citation for Personal Service            Secretary of State Citation ($12.00)           Civil Injunction/TRO
          Citation by Posting                      Highway Commission ($12.00)                    Precept
          Citation by Publication                  Commissioner of Insurance ($12.00)             Subpoena
          Citation Scire Facias                    Capias (not an E‐Issuance)                     Other (Please describe)
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          Writ of Withholding ($15.00 ‐ certified mail by District Clerk only)
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          ATTORNEY PICK‐UP (phone or email contact): ________________________________________________
          MAIL to attorney at Attorney of Record’s address on file in case record.
          CERTIFIED MAIL by District Clerk
          Regular Mail (only available for Expedited Foreclosures and UIFSA Foreign Judgments
          CIVIL PROCESS SERVER ‐ Authorized Person to Pick‐up: __________________Phone: _________________
          OTHER, explain: _________________________________________________________________________
      Issuance of Service requested by:
      Attorney/Party Name: _______________________________________Bar# or ID: ______________________
      Mailing Address: ___________________________________________________________________________
      Phone Number: ___________________________



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                                                                                              Deputy Clerk, Sarah Introligator
                                   Montgomery County District Clerk
             Montgomery County - 284th Judicial District20-02-02468
                                                         Court
CASE NUMBER: _______________________ CURRENT COURT: ________________________________________

Name(s) of Documents to be served: _____________________________________________________________
 ____________________________________________________________________________________________
 ____________________________________________________________________________________________
FILE DATE of document(s) to be served: ______________________ Month/Day/Year
SERVICE TO BE ISSUED ON (Please List Exactly as The Name Appears in The Pleading to Be Served):
Issue Service to: _______________________________________________________________________________
Address of Service:_____________________________________________________________________________
City, State & Zip: ______________________________________________________________________________
Agent (if applicable): ___________________________________________________________________________
        Check here to have citation addressed to wherever the addressee may be found.
TYPE OF SERVICE/PROCESS TO BE ISSUED: (Check the appropriate box)
   Citation for Personal Service            Secretary of State Citation ($12.00)           Civil Injunction/TRO
   Citation by Posting                      Highway Commission ($12.00)                    Precept
   Citation by Publication                  Commissioner of Insurance ($12.00)             Subpoena
   Citation Scire Facias                    Capias (not an E‐Issuance)                     Other (Please describe)
   Writ of Garnishment                      Temporary Restraining Order (Family)
   Writ of Sequestration                    Temporary Ex Parte Protective Order
   Writ of Attachment                       Notice of Appl. For Protective Order
   Writ of Habeas Corpus                    Notice of Hearing/Show Cause
                                                                                        (See additional forms for
   Notice of Foreign Judgment (UIFSA)                                                   Post Judgment Service)
   Notice of Foreign Judgment (UCCJEA)      (by certified mail service)
   Writ of Withholding ($15.00 ‐ certified mail by District Clerk only)
   Notice of Termination of Child Support ($15.00 ‐ certified mail by District Clerk only)
SERVICE BY: (Check the appropriate box.)
    E‐Issuance by District Clerk (No Service Copy Fees Charged) (Note:) CAPIAS is not an E‐Issuance Option
*Citations returned electronically will be e‐served through E‐file Texas to requesting attorney/pro se.
    ATTORNEY PICK‐UP (phone or email contact): ________________________________________________
    MAIL to attorney at Attorney of Record’s address on file in case record.
    CERTIFIED MAIL by District Clerk
    Regular Mail (only available for Expedited Foreclosures and UIFSA Foreign Judgments
    CIVIL PROCESS SERVER ‐ Authorized Person to Pick‐up: __________________Phone: _________________
    OTHER, explain: _________________________________________________________________________
Issuance of Service requested by:
Attorney/Party Name: _______________________________________Bar# or ID: ______________________
Mailing Address: ___________________________________________________________________________
Phone Number: ___________________________
Case 4:20-cv-01100 Document 1-3 Filed on 03/27/20 in TXSD Page 19 of 32




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                  Case 4:20-cv-01100 Document 1-3 Filed on 03/27/20 in TXSD Page Received
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                                                                                                         Melisa Miller, District Clerk
                                                 Request for Service                                    Montgomery County, Texas
                                                                                                     Deputy Clerk, Sarah Introligator
                                          Montgomery County District Clerk
                    20-02-02468                            Montgomery County - 284th Judicial District Court
      CASE NUMBER: _______________________ CURRENT COURT: ________________________________________

      Name(s) of Documents to be served: _____________________________________________________________
       ____________________________________________________________________________________________
       ____________________________________________________________________________________________
      FILE DATE of document(s) to be served: ______________________ Month/Day/Year
      SERVICE TO BE ISSUED ON (Please List Exactly as The Name Appears in The Pleading to Be Served):
      Issue Service to: _______________________________________________________________________________
      Address of Service:_____________________________________________________________________________
      City, State & Zip: ______________________________________________________________________________
      Agent (if applicable): ___________________________________________________________________________
              Check here to have citation addressed to wherever the addressee may be found.
      TYPE OF SERVICE/PROCESS TO BE ISSUED: (Check the appropriate box)
          Citation for Personal Service            Secretary of State Citation ($12.00)           Civil Injunction/TRO
          Citation by Posting                      Highway Commission ($12.00)                    Precept
          Citation by Publication                  Commissioner of Insurance ($12.00)             Subpoena
          Citation Scire Facias                    Capias (not an E‐Issuance)                     Other (Please describe)
          Writ of Garnishment                      Temporary Restraining Order (Family)
          Writ of Sequestration                    Temporary Ex Parte Protective Order
          Writ of Attachment                       Notice of Appl. For Protective Order
          Writ of Habeas Corpus                    Notice of Hearing/Show Cause
                                                                                               (See additional forms for
          Notice of Foreign Judgment (UIFSA)                                                   Post Judgment Service)
          Notice of Foreign Judgment (UCCJEA)      (by certified mail service)
          Writ of Withholding ($15.00 ‐ certified mail by District Clerk only)
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          E‐Issuance by District Clerk (No Service Copy Fees Charged) (Note:) CAPIAS is not an E‐Issuance Option
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          ATTORNEY PICK‐UP (phone or email contact): ________________________________________________
          MAIL to attorney at Attorney of Record’s address on file in case record.
          CERTIFIED MAIL by District Clerk
          Regular Mail (only available for Expedited Foreclosures and UIFSA Foreign Judgments
          CIVIL PROCESS SERVER ‐ Authorized Person to Pick‐up: __________________Phone: _________________
          OTHER, explain: _________________________________________________________________________
      Issuance of Service requested by:
      Attorney/Party Name: _______________________________________Bar# or ID: ______________________
      Mailing Address: ___________________________________________________________________________
      Phone Number: ___________________________



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Case 4:20-cv-01100 Document 1-3 Filed on 03/27/20 in TXSD Page 21 of 32




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                   Case 4:20-cv-01100 Document 1-3 Filed on 03/27/20 in TXSD Page Received
                                                                                  22 of 32and E-Filed for Record
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                                                                                                            Melisa Miller, District Clerk
                                                                                                           Montgomery County, Texas
                                                                                        57541-2          Deputy Clerk, Vanessa Medina
                                                       CITATION
           Cause Number: 20-02-02468

           Clerk of the Court                                     Attorney Requesting Service
           Melisa Miller                                          Steven J. Mitby
           P.O. Box 2985                                          2700 Research Forest Drive Suite 100
           Conroe, Texas 77305                                    The Woodlands TX 77381
                                             THE STATE OF TEXAS
           NOTICE TO DEFENDANT: You have been sued, You may employ an attorney. If you or your attorney
           does not file a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next
           following the expiration of twenty days after you were served this citation and petition, a default judgment
           may be taken against you.

          To:     UnitedHeahhcare Community Plan of Texas, LLC f/k/a Evercare of Texas, LLC
                  Registered Agent CT Corporation System
                  1999 Bryan St Ste 900
                  Dallas TX 75201


          You are hereby commanded to appear by filing a written answer to the Plaintiffs’ Original Petition at or
          before 10:00 A.M. of the Monday next after the expiration of twenty days after the date of service of this
          citation before the Honorable 284th Judicial District Court Montgomery County, Texas at the Courthouse
          of said County in Conroe, Texas.

          Said Plaintiffs’ Original Petition was filed in said court on this the 20th day of February, 2020 numbered
          20-02-02468 on the docket of said court, and styled, Texienne Oncology Centers, P L L C and Texienne
          Hospital Systems, L.P. VS. UnitedHeahhcare Insurance Company; UnitedHealthcare of Texas, Inc.;
          UnitedHeahhcare Benefits of Texas, Inc.; UnitedHeahhcare Community Plan of Texas, LLC

          The nature of plaintiWs demand is fully shown by a true and correct copy of the Plaintiffs’ Original
          Petition accompanying this citation and made a part hereof.

          The officer executing this writ shall promptly serve the same according to requirements of law, and the
          mandates thereof, and make due return as the law directs.

          Issued and given under my hand and seal of said Court at Conroe, Texas on this the 24th day of February,
          2020.


                                                                      Melisa Miller, District Clerk
                                                                      Montgomery County, Texas
                                                                                                      2124!202a 2:06:57 PM
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                                                                      Deven Maropis, Deputy




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                     Case 4:20-cv-01100 Document 1-3 Filed on 03/27/20 in TXSD Page 23 of 32



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           OFIICER’S RETURN
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           Cause No. 20-02-02468                        Court No: 284th Judicial District Court
           Style: lexienne Oncology Centers, P.L.L.C. and Texienne Hospital Systems, LP. VS. UnitedHealthcare Insurance
           Company; UnitedHealthcare of Texas, Inc.; UnitedHealthcare Benefits of Texas, Inc.; UnitedHealthcarc
           Community Plan of Texas, LLC
           To:           UnitedHealthcare Community Plan of Texas, LLC f/k/a Evercare of Texas, LLC
           Address:       Registered Agent CT Corporation System
                          1999 Bryan St Ste 900
                         Dallas TX 7520

           Came to hand thZZiy of                     ,     at ‘?clock, and executed in                     5___. County,
           Texas by delivering to each of the withi named defendants in person, a true copy of this citation with the date of
           delivery endorsed thereon, together with the accompanying copy of the Plaintiffs’ Original Petition at the following
           times and places, to wit:

                                                            .   Place, ours thstanornu
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           *And not executed as to the defendants(s)
           The diligence used in finding said defendant(s) being:

           And the cause of failure to execute this process is:

           And information received as to the whereabouts of sa            kndant(s) being:

           fEES:
           Serving Petition and Copy

           TOTAL
                                                                                                          County, Texas
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           AFFIANT
           Comptere if yoti are a person other than a Sheriff, Constable, or Clerk of the Court. In accordance with Rule 107: the
           officer, or authorized person who cervices, or attempts to serve a citation shall sign and rettirn. The return must
           either be verified or be signed under penalty of perjury.

           A return signed under penalty of flerjtnv must contain the
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           I DECLARE I3NDER PENALTY OF PERJURY THAT THE
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           onlay                    ,


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Case 4:20-cv-01100 Document 1-3 Filed on 03/27/20 in TXSD Page 24 of 32




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                                                                                  25 of 32and E-Filed for Record
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                                                                                                               Melisa Miller, District Clerk
                                                                                        57541-3               Montgomery County, Texas
                                                                                                            Deputy Clerk, Vanessa Medina

                                                       CITATION
           Cause Number: 20-02-02468

           Clerk of the Court                                     Attorney Requesting Service
           Melisa Miller                                          Steven J. Mitby
           P.O. Box 2985                                          2700 Research fofest Drive Suite 100
           Conroe, Texas 77305                                    The Woodlands TX 77381
                                              THE STATE OF TEXAS
           NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. If you or your attorney
           does not file a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next
           following the expiration of twenty days after you were served this citation and petition, a default judgment
           may be taken against you.

           To:    UnitedHealthcare Benefits of Texas, Inc. f/k/a PacifiCare of Texas, Inc.
                  CT Corporation System
                  1999 Bryan St Ste 900
                  Dallas TX 75201


          You are hereby commanded to appear by filing a written answer to the Plaintiffs’ Original Petition at or
          before 10:00 A.M. of the Monday next after the expiration of twenty days after the date of service of this
          citation before the Honorable 284th Judicial District Court Montgomery County, Texas at the Courthouse
          of said County in Conroe, Texas.

          Said Plaintiffs’ Original Petition was filed in said court on this the 20th day of February, 2020 numbered
          20-02-02468 on the docket of said court, and styled, Texienne Oncology Centers, P.L.LC. and Texienne
          Hospital Systems, L.P. VS. UmtedHeahhcare Insurance Company; UnitedHeahhcare of Texas, Inc.;
          UnitedHealthcare Benefits of Texas, Inc.; UnitedHeakhcare Community Plan of Texas, LLC

          The nature of plaintiff’s demand is fully shown by a true and correct copy of the Plaintiffs’ Original
          Petition accompanying this citation and made a part hereof.

          The officer executing this writ shall promptly serve the same according to requirements of law, and the
          mandates thereof, and make due return as the law directs.

          Issued and given under my hand and seal of said Court at Conroe, Texas on this the 24th day of February,
          2020.


                                                                       Melisa Miller, District Clerk
                                                                       Montgomery County, Texas

                                                                       By:                             212412020 207:i5 PM

                                                                      Deven Maropis, Deputy




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                      Case 4:20-cv-01100 Document 1-3 Filed on 03/27/20 in TXSD Page 26 of 32


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            OFFICER’S RETURN
            Cause No. 20-02-02468                       Court No: 284th Judicial District Court
            Style: Texienne Oncology Centers) P.LL.C. and Texienne Hospital Systems, L.P. VS. UnitedHealthcare Insurance
            Company; UnitedHealthcare of Texas, Inc.; UnitedHeakhcare Benefits of Texas, Inc.; UnitedHealthcare
            Community Plan of Texas, LLC
            To:           UnjtedHealthcare Benefits ofTexas, Inc. f/k/a PacifiCare of Texas, Inc.
            Address:       CT Corporation System
                          1999 Bryan St Ste 900
                          Dallas TX 75201

           Came to hand thay of                       ,    !,
                                                            a’         o’clock, and executed in                        County,
           Texas by delivering to each of the within/named defendants in person, a true copy of this citation with the date of
           delivery endorsed thereon) together with the accompanying copy of the Plaintiffs’ Original Petition at the following
           times and pla a, to
                                                                Place, Course              C7e7
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                not executed as to the defendants(s)
           The diligence used in finding said defendant(s) bein,,/

           And the cause of failure to execute this process is:      7
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           And information received as to the whereabouts of                         being:

           FEES
           Serving Petition and Copy

           TOTAL



           AFFIANT
           Complete if you arc a person other than a Sheriff, Constable, or Clerk of the Court. In accordance with Rule 107: the
           officer, or authorized person who services, or attempts to serve a citation shall sign and return. The return lutist
           either be verified or be signed under penalty of perjury.
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           A return signed under penalty of penury     must contain    the
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                                                                                                            Melisa Miller, District Clerk
                                                                                          57541-1          Montgomery County, Texas
                                                                                                          Deputy Clerk, Patricia Morrill
                                                      CITATION
           Cause Number: 20-02-02468

          Clerk of the Court                                     Attorney Requesting Service
          Meisa Miller                                           Steven J. Mitby
           P.O. Box 2985                                         2700 Research Forest Drive Suite 100
           Conroe, Texas 77305                                   The Woodlands TX 77381
                                             THE STATE OF TEXAS
          NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. If you or your attorney
          does not file a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next
          following the expiration of twenty days after you were served this citation and petition, a default judgment
          may be taken against you.

          To:     UnitedHeakhcare of Texas, Inc.
                  Registered Agent CT Corporation System
                  1999 Bryan St Ste 900
                  Dallas TX 75201


          You are hereby commanded to appear by filing a written answer to the Plaintiffs’ Original Petition at or
          before 10:00 A.M. of the Monday next after the expiration of twenty days after the date of service of this
          citation before the Honorable 284th Judicial District Court Montgomery County, Texas at the Courthouse
          of said County in Conroe, Texas.

          Said Plaintiffst Original Petition was filed in said court on this the 20th day of February, 2020 numbered
          20-02-02468 on the docket of said court, and styled, Texienne Oncology Centers, P.L.L.C. and Texienne
          Hospital Systems, L.P. VS. UnitedHealthcare Insurance Company; UnitedHealthcare of Texas, Inc.;
          UnitedHealthcare Benefits of Texas, Inc.; UnitedHealthcare Community Plan of Texas, LLC

          The nature of plaintiffs demand is fully shown by a true and correct copy of the Plaintiffs’ Original
          Petition accompanying this citation and made a part hereof.

          The officer executing this writ shall promptly serve the same according to requirements of law, and the
          mandates thereof, and make due return as the law directs.

          Issued and given under my hand and seal of said Court at Conroe, Texas on this the 24th day of February,
          2020.


                                                                      Melisa Miller, District Clerk
                                                                      Montgomery County, Texas

                                                                      ByL2
                                                                      Deven Maropis, Deputy




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                     Case 4:20-cv-01100 Document 1-3 Filed on 03/27/20 in TXSD Page 29 of 32



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           OFFItER’S RETURN
           Cause No. 20-02-02468                        Court No: 284th Judicial District Court
           Style: Texienne Oncology Centers, P.L.LC. and Texienne Hospital Systems, L.P. VS. UnitedHealthcafe Insurance
           Company; UnitedHealthcare of Texas, Inc.; UnitedHealthcare Benefits of Texas, Inc.; UnitedHealthcare
           Community Plan of Texas) LLC
           To:           UnitedHealthcare of Texas, Inc.
           Address:      Registered Agent CT Corporation System
                         1999 Bryan St Ste 900
                          Dallas TX 75201

           Came to hand th1Ry                               at5L?lock, and executed in                                 County,
           Texas by delivering to each of the withi named defendants in person, a true copy of this citation with the date of
           delivery endorsed thereon, together with the accompanying copy of the Plaintiffs’ Originai Petition at the following
           times and places, to wit:
                                   D te/Time               Place, Cour         d distance from C_irt   use
      1) ii;1% r1kM.l              %zZ              ‘37.--                        t?rtjAii5     /,           Ac   v. 15z11
           Manner of service:
           *jjd not executed as to the defendants(s)
           The diligence used in finding said defendant(s) being:
           —                                                        —Jr
           And the cause of failure to execute this process is:
                                                                   Aim
           And information received as to the whereabouts of said                   being:
                                                                    rndant(s)
           FEES:
           Serving Petition and Copy       $,/I1
           TOTAL

                                                                         By:

           AFFIANT
           Complete if you are a person other than a Sheriff, Constable, or Clerk of the Court. In accordance with Rule 107: the
           officer, or authorized person who services, or attempts to serve a citation shall sign and return. The return must
           either be verified or be signed under penalty of perjury.
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           A return signed under penalty of perjury must contain the
           statement beb
           My full name
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                                PENALTY Of PERJURY THAT THE
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Case 4:20-cv-01100 Document 1-3 Filed on 03/27/20 in TXSD Page 30 of 32




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                                                                                        Melisa Miller, District Clerk
                                                                                       Montgomery County, Texas
                                                                                      Deputy Clerk, Patricia Morrill

                                       CAUSE NO. 20-02-02468

 TEXIENNE ONCOLOGY CENTERS,                          §    IN THE DISTRICT COURT
 P.L.L.C. and TEXIENNE HOSPITAL                      §
 SYSTEMS, L.P.,                                      §
                                                     §
                 Plaintiffs,                         §
 v.                                                  §
                                                     §    MONTGOMERY COUNTY, TEXAS
 UNITEDHEALTHCARE INSURANCE                          §
 COMPANY; UNITEDHEALTHCARE OF                        §
 TEXAS, INC.; UNITEDHEALTHCARE                       §
 BENEFITS OF TEXAS, INC.; and                        §
 UNITEDHEALTHCARE COMMUNITY                          §
 PLAN OF TEXAS, LLC,                                 §
                                                     §
                 Defendants.                         §    284TH JUDICIAL DISTRICT

                               DEFENDANTS’ ORIGINAL ANSWER

        Defendants file their original answer, without waiving their right to move to compel

arbitration, and state:

        1.      Subject to such admissions and stipulations as may be made at or before time of

trial, Defendants deny generally and specially the material allegations in Plaintiffs’ Original

Petition, pursuant to Tex. R. Civ. P. 92, and demand strict proof thereof in accordance with the

requirements of the laws of this state.

        2.      Defendants request the following relief:

                (a)       That Plaintiffs take nothing by reason of their suit;

                (b)       That Defendants be dismissed with their costs; and

                (c)       That Defendants have such other and further relief,
                          both general and special, at law and in equity, to
                          which they may show themselves justly entitled.




 Defendants’ Original Answer                                                             Page 1
    Case 4:20-cv-01100 Document 1-3 Filed on 03/27/20 in TXSD Page 32 of 32




 Dated: March 18, 2020                     Respectfully Submitted,

                                           By: /s/ Andrew G. Jubinsky
                                                   Andrew G. Jubinsky
                                                   State Bar No. 11043000
                                                   andy.jubinsky@figdav.com
                                                   Lance V. Clack
                                                   Texas Bar No. 24040694
                                                   lance.clack@figdav.com

                                           FIGARI + DAVENPORT, LLP
                                           901 Main Street, Suite 3400
                                           Dallas, TX 75202
                                           (214) 939-2000
                                           (214) 939-2090 (Fax)

                                           ATTORNEYS FOR DEFENDANTS



                               CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing document has been served
on the parties listed below on March 18, 2020.

 Steven J. Mitby
 smitby@seilermitby.com
 Kenna M. Seiler
 kseiler@seilermitby.com
 SEILER MITBY, PLLC
 2700 Research Forest Dr., Ste. 100
 The Woodlands, TX 77381
 Attorneys for Plaintiffs


                                            /s/ Andrew G. Jubinsky
                                            Andrew G. Jubinsky




 Defendants’ Original Answer                                                              Page 2
